444 F.2d 1208
    Julio TORRES, a/k/a Orejas, Petitioner-Appellant,v.UNITED STATES of America, Respondent-Appellee.No. 30828 Summary Calendar.**Rule 18, 5th Cir.; see Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York et al., 5th Cir. 1970, 431F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    July 14, 1971.
    
      Julio Torres, pro se.
      Robert W. Rust, U.S. Atty., Jose E. Martinez, Asst. U.S. Atty., Miami, Fla., for respondent-appellee.
      Appeal from the United States District Court for the Southern District of Florida; Charles B. Fulton, Chief Judge.
      Before GEWIN, GOLDBERG and DYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      The final order of the district court is reversed and the case is remanded with directions to vacate the judgment of conviction and sentence of the appellant for violation of 26 U.S.C. 4744(a).  Harrington v. United States, 5th Cir. 1971, 444 F.2d 1190.  The mandate of this Court will issue forthwith.
    
    
      2
      Reversed and remanded, with directions.
    
    